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           GOOGLE LLC’S
          OPPOSITION TO
            PLAINTIFFS’
          MOTION FOR AN
             ORDER OF
          SANCTIONS FOR
             GOOGLE’S
             DISCOVERY
            MISCONDUCT

      Redacted Version of
       Document Sought
         to be Sealed
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20                              UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
     PATRICK CALHOUN, et al., on behalf of Case No. 5:20-cv-05146-LHK
22   themselves and all others similarly situated,
                                                   GOOGLE LLC’S OPPOSITION TO
23                Plaintiffs,                      PLAINTIFFS’ MOTION FOR AN ORDER
                                                   OF SANCTIONS FOR GOOGLE’S
24         vs.                                     DISCOVERY MISCONDUCT
25   GOOGLE LLC,                                 Referral: The Honorable Susan van Keulen
                                                 Date: August 11, 2022
26                 Defendant.                    Time: 9:30 a.m.
                                                 Trial Date: None Set
27
28

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 1 I.       INTRODUCTION
 2          Plaintiffs’ sanctions motion is meritless. Their scattershot allegations regarding (1) Google’s
 3 purported misrepresentations concerning “not-synced” signals, (2) its preservation and production
 4 of Named Plaintiffs’ data, and (3) its production of                  documents, lack record support.
 5 Google has acted properly and in accordance with the orders of this Court and the Special Master at
 6 every turn. Nor do Plaintiffs have any valid justification for the sweeping sanctions they seek, which
 7 are grossly disproportionate to the conduct of which they complain. The motion should be denied. 1
 8 II.      STATEMENT OF RELEVANT FACTS
 9          A.      Google Was Honest with the Court and Plaintiffs Regarding “Not-Synced”
                    Signals
10
            Plaintiffs’ request that Google be sanctioned for its conduct regarding “not-synced” signals
11
     is based on three false premises: (1) Google misled the Court regarding sync traffic logs in securing
12
     the protective order, dated April 30, 2021 (the “Protective Order”); (2) Google failed to disclose
13
     such signals in discovery; and (3) Google prevented Plaintiffs from identifying their putative class
14
     of Chrome users who did not enable or disabled sync by failing to preserve certain signals.
15
                    1.     Google’s Representations to the Court and Plaintiffs Were Accurate
16
            Plaintiffs seek sanctions based on alleged misrepresentations Google’s counsel purportedly
17
     made over 16 months ago at the March 5, 2021 hearing on Google’s motion for a protective order
18
     (the “March 5 Hearing”). Mot. 6–7. But the March 5 Hearing had nothing to do with “not-synced”
19
     signals; its purpose was to assess Google’s burden of preserving                      in the disputed
20
     logs. See Dkt. 125. That context is critical. Plaintiffs’ interpretations of Google’s comments at the
21
     March 5 Hearing are grossly inaccurate.
22
23
24   1  Paragraphs 2–14, 19–20, 25, 28–31, 34-35, 37–43, 45, 49–52, 54–55, 61–64, 67, 70, 74–76, 78–
25   81, 83, 85, 89, 91, 95–96, 98, 100, 103–104, 106–109, 111, 113, 119–121, 124 of the Joint
     Declaration (Dkt. 669-3) should also be stricken since they contain conclusions and argument in
26   violation of Local Rule 7-5(b). See Hinson v. Metro. Life Ins. Co., 2012 WL 13054268, at *1 (N.D.
     Cal. Aug. 1, 2012) (striking “in substantial part” an attorney declaration containing “improper
27   argument in violation of Civ. L.R. 7-5(b)”); First Mercury Ins. Co. v. Great Divide Ins. Co., 241 F.
28   Supp. 3d 1028, 1045 (N.D. Cal. 2017) (sustaining objection to argumentative paragraphs in
     declaration); see also Brown v. Google, LLC, No. 20-cv-3664, Dkt. 588 at 2–4.
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 1          First, Plaintiffs falsely claim the Court asked about “whether Google maintained not synced
 2 signals.” Mot. 7. The Court never asked such a question. Google made no representations regarding
 3 “not-synced” signals. And the Court and Google’s counsel never even mentioned “signals.” Instead,
 4 Plaintiffs quote from Google counsel’s introductory statement about the general data types in
 5 various logs, including a statement that “the sync traffic logs will no t show data for that user who
 6 has not enabled sync.” Id. (quoting Mar. 5, 2021 Hr’g Tr. 14:13–20). With regard to the data alleged
 7 to be improperly collected in this case, which was the focus of counsel’s description, this statement
 8 is entirely accurate. The sync data at issue (e.g., Chrome browsing history) is not sent to Google for
 9 users who have not enabled sync; therefore, the Chrome logs do not record it. Schumann Decl. ¶ 9.
10 This statement was not meant to address the nuance that sync traffic logs rec ord a signal that may
11 indicate when a user is signed-in but not consented to sync.
12          Second, Plaintiffs mistakenly claim Google falsely responded to the following question from
13 the Court: “is Google able to identify the number of unsynced users who are using Chrome . . . like
14 the Plaintiffs allege they were?” Dkt. 137 (“Mar. 5, 2021 Hr’g Tr.”) 23:6–11. Google’s counsel
15 responded, “that is not a figure that’s readily available to Google.” Id. 23:22–23. This statement is
16 accurate: Plaintiffs’ purported class of Chrome users who did not enable (or disabled) sync captures
17 a broad swath of users: (1) Google Account holders who are signed in but not synced; (2) Google
18 Account holders who are signed out of their Google Accounts (and therefore not synced); (3) non-
19 Google Account holders who are unable to sync a device to a Google Account (because they do not
20 have one); and (4) users browsing while in Guest Mode (but excluding Incognito Mode). Google
21 cannot readily identify the number of all such users. Schumann Decl. ¶ 20. Plaintiffs rely on a single
22 document, Mot. 7 (citing Jt. Decl. ¶ 31, Ex. 4), in which an engineer stated that Google’s ability to
23 determine “all accounts that ever enabled sync” is limited because Google cannot distinguish
24 between “sync or just a sign-in event.” But that document, highlighting the difficulty of identifying
25 a portion of class members, only confirms that Google cannot identify all Chrome users browsing
26 without syncing. Schumann Decl. ¶ 22.
27          Third, Plaintiffs claim that Google incorrectly told the Court that it “‘do[es] not record
28 identifiers for logged out users.’” Mot. 1 (citing Mar. 5, 2021 Hr’g Tr. 12:2–10). But Google actually

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 1 said, correctly, that the “sync traffic logs do not include any of the identifiers, the cookies, that
 2 Google uses for advertising when users are logged out of their Google account, or any of the
 3 identifiers that Google Analytics uses, such as Client I.D.’s” and so the “sync traffic logs do not
 4 have any of these identifiers in them. They do not record identifiers for logged out users.” Mar. 5,
 5 2021 Hr’g Tr. 12:2–15; see also Schumann Decl. ¶ 21; Pls.’ Ex. 6 (Apr. 9, 2021 Rule 30(b)(6) Tr.)
 6 117:2–8. Plaintiffs do not dispute, nor could they, that the sync traffic logs do not contain advertising
 7 cookies for users browsing while signed out of their Google accounts.
 8          Similarly, Plaintiffs lack factual support for each of the purportedly “false” statements they
 9 allege Google made to conceal the existence of “not-synced” signals. Mot. 8. First, consistent with
10 Google’s representation at the March 5 Hearing, Google corporate witness David Monsees
11 accurately responded “my understanding is that we cannot” to the question of whether Google could
12 “identify today all users who are not synched [sic].” Compare Pls.’ Ex. 6 (Apr. 9, 2021 Rule 30(b)(6)
13 Tr.) 116:16–20, 117:2–8, with Mar. 5, 2021 Hr’g Tr. 23:22–23.2 Second, Plaintiffs cite nothing in
14 support of their claim that Google denied the existence of a “not-synced” signal at an October 5,
15 2021 Special Master Conference. Nor could they—Google never made such a statement. Ansorge
16 Decl. ¶ 86. Third, Google accurately denied that “Chrome sends a Signal to Google that indicates
17 when a Chrome user is not signed-in and not synced,” Mot. 8 (citing Google’s Responses and
18 Objections to Pls.’ RFA No. 12), because Google does not receive a signal showing when a user is
19 browsing Chrome while not signed into his or her Google account. See Schumann Decl. ¶ 11.
20 Fourth, Google could not have “failed to inform the Court that it had made false statements of fact
21 in its earlier submissions,” Mot. 8, because, as demonstrated above, it made no false statements. 3
22 Fifth, contrary to Plaintiffs’ assertion, none of Google’s class certification arguments turns on the
23 absence of any sync or “not-synced” signals. See infra Section III.A.
24
25
     2Moreover, Plaintiffs do not fairly characterize Mr. Monsees’s Rule 30(b)(6) testimony, which
26 makes clear that he did not prepare to respond to out-of-scope questions about logs indicating “not
   synced” browser states. Jt. Decl. Ex. 6 (April 9, 2021 Monsees Tr.) at 114:18 –15. For that reason,
27 Google’s counsel objected to each of the questions related to traffic logs and sync signals. Id.
   3 Plaintiffs do not identify what “earlier submissions” they mean. If they are referring to Google’s
28
   representations at the March 5 Hearing, the assertion has no merit for the reasons explained above.
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 1                  2.     Plaintiffs Have Known About “Not-Synced” Signals for Over A Year
 2           Despite 16 months of extensive discovery on “not-synced” signals, Plaintiffs allege Google
 3 concealed the existence of such signals, including the                        and the        signals,
 4 for the “entire discovery period.” Mot. 8. That assertion is demonstrably wrong.
 5       •   These signals are publicly disclosed in chrome://sync-internals/, publicly available source
             code at https://source.chromium.org/chromium, and can be observed through inspecting
 6           network traffic with chrome://net-export/.
 7
         •   Google produced            of documents about these signals beginning in April 2021. Olson
 8           Decl. ¶¶ 2–3.

 9       •   Google confirmed the existence of these signals on October 12, 2021 in response to
             Plaintiffs’ requests for admission, Olson Decl. Ex. 4 (Responses & Objections to First Set
10           of RFAs) at Nos. 13, 18. 4
11       •   In compliance with the Court’s November 12, 2021 Order (Dkt. 377), Google produced a
12           list of the data sources containing           signals on November 23, 2021. Ansorge Decl.
             Ex. 34. Weeks later, Plaintiffs served an interrogatory about “not-synced” signals, and on
13           January 31, 2022 Google again confirmed the existence of the “is_sync_feature_enabled” in
             the Chrome sync traffic logs. 5 Olson Decl. Ex. 5 (Responses & Objections to Fifth Set of
14           Interrogatories) at No. 34.
15       •   Realizing it had inadvertently left out the                signal—which Plaintiffs had
16           long known about from Google’s written discovery and Mr. Schumann’s deposition—
             Google served a supplemental response before the discovery cut-off, a day after Mr.
17           Schumann realized the inadvertent exclusion. Schumann Decl. ¶ 15.

18           Repeatedly, Plaintiffs have demonstrated they were aware of the “not-synced” signals prior
19 to “the last day of fact discovery.” Mot. 9. On June 11, 2021, Plaintiffs questioned Google’s
20 corporate designee about “not-synced” signals. See Ansorge Decl. Ex. 4 (June 11, 2021 Rule
21 30(b)(6) Tr.) 402:18–403:6. In September 2021, Plaintiffs requested a Rule 30(b)(6) deposition on
22 “not-synced” signals, specifically referencing the              and stop sync signals (and then,
23
     4    Specifically, Google admitted that (1) when a user is signed in to a Google account and the
24
     Chrome browser, Chrome may send a signal that “may indicate to Google that sync is not enabled
25   on that Chrome browser at that time,” (i.e.,      ) and that (2) the “Chrome browser will attempt
     to send a request to the Google sync service when a Chrome user clicks to turn off sync,” (i.e.,
26                         ).
     5 Plaintiffs misleadingly claim that Google “ignored” the Special Master’s January 5, 2022 Order
27   to provide all field names and descriptions of ZWBK           . Mot. 9. Google does not maintain a
28   list of field names or descriptions for ZWBK         , see Dkt. 694-4 at 4, but Google did provide
     the column names and annotations for the more than       ZWBK            columns. Dkt. 713–4 at 7.
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 1 inexplicably, failed to take the deposition). Ansorge Decl. Ex. 37 at 3. Plaintiffs’ experts discussed
 2 “not-synced” signals nine months ago in reports supporting Plaintiffs’ class certification motion.
 3 See Dkt. 339-14 (Sealed Smith Report) ¶¶ 110–158 (referencing “is_sync_feature_enabled”); Dkt.
 4 339-20 (Sealed Shafiq Report) ¶ 64 (“[I]f a Chrome user is signed in to a Chrome browser, and signs
 5 in to a Google website, and did not have sync enabled on the Chrome browser, then Chrome may
 6 send a bit, which depending on the circumstances, may indicate to Google that sync is not enabled
 7 on that Chrome browser at that time.”).
 8           Google even offered additional discovery on these signals that Plaintiffs failed to accept.
 9 First, on August 27, 2021, at Plaintiffs’ request, Google offered preservation of “[i]nformation
10 showing whether [a] user had sync enabled at the time of the log entry.” Dkt. 293-4 at 2. Plaintiffs
11 refused to accept Google’s offer. Dkt. 294. Second, Google made Tim Schumann available to testify
12 in his individual capacity and as Google’s corporate witness on “not-synced” signals on October 8
13 and 11, 2021, prior to Plaintiffs’ class certification filing deadline. Yet, Plaintiffs decided not to take
14 a Rule 30(b)(6) deposition of Mr. Schumann, and delayed his individual deposition until January
15 13, 2022. Ansorge Decl. ¶ 96.
16           At the deposition, Plaintiffs spent more than 282 transcript pages on “not-synced” signals,
17 and Mr. Schumann testified at length about                     and stop sync signals (which include
18                        ). 6 See, e.g., Ansorge Decl. Ex. 39 (Schumann Tr.) 38:7–25; 214:4–217:25;
19 Schumann Decl. ¶ 12.
20                   3.      Plaintiffs Have Not Established Any Plausible Harm
21           Plaintiffs’ contention that Google committed discovery misconduct because it “destroyed
22 relevant not synced signals” from logs, Mot. 19, is foreclosed by this Court’s April 30, 2021
23 Protective Order. 7 That Order, which resulted from extensive briefing and oral argument and issued
24
25
     6Plaintiffs knew that Google receives signals in certain instances when a user stops sync, which
26 would include the                       signal. Plaintiffs even referred to “stop sync signals” during
   Mr. Schumann’s deposition. Ansorge Decl. Ex. 39 at 214:4. They cannot now claim they only
27 learned about such signals on the last day of discovery.
   7 Plaintiffs cannot reasonably assert that the Protective Order does not extend to the sync traffic
28
   logs, Mot. 19, when they expressly asked that these logs be preserved , Dkt. 117-4, and the Court
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 1 after Plaintiffs took a Court-authorized seven-hour Rule 30(b)(6) deposition on the issue of
 2 preservation, Dkt. 129, authorized Google to retain its standard retention periods for Chrome users’
 3 event-level data—including the signals in dispute. The Court reached that decision aware that the
 4 logs may contain relevant data, including data that cou ld potentially be used to identify class
 5 members. Mar. 5, 2021 Hr’g Tr. 37–38. Much of discovery has since been focused on what data can
 6 reasonably and proportionally be preserved and produced. And under the Special Master’s Modified
 7 Preservation Plan, Google will preserve the            and                     signals. Dkt. 713-4.
 8          Even crediting Plaintiffs’ serial mischaracterization of the record, the motion fails to
 9 establish any plausible harm. First, Plaintiffs erroneously claim earlier preservation of “not-synced”
10 signals would have provided “a ready-made database of information to identify class members.”
11 Mot. 19. “Not-synced” signals cannot identify the class because they are not related to a user’s
12 visiting a non-Google website that has installed Google services, which is central to Plaintiffs’
13 allegations. See, e.g., Dkt. 162-3 at ¶ 276; Schumann Decl. ¶ 21. Moreover, Plaintiffs have
14 previously acknowledged that Google has no logs showing every instance in which a Chrome user
15 browses without sync enabled: on March 3, 2021, Plaintiffs demanded that Google build and
16 preserve a new “Do Not Sync (DNS or X-Not-Synced) signal that Google can store in its existing
17 logs,” Ansorge Decl. Ex. 35 at 2. Many instances in which a Chrome user browses without sync
18 enabled are not identified in the logs at all. Schumann Decl. ¶¶ 19–20. The client-side sync feature
19 does not rely on Google’s server’s knowing details about users’ browsing state. Id. ¶ 11. Thus,
20 Plaintiffs incorrectly characterize Google’s statement in a letter that “[d]isabling sync is a client-
21 side [device side] action that is not visible server-side (i.e., to Google). Therefore, Google does not
22 have any logs showing when a user is not synced.” Mot. 7 (partially quoting Jan. 29, 2021 letter
23 from Google). The letter truthfully conveyed that Google does not necessarily know when a client
24 has disabled sync. Schumann Decl. ¶¶ 11, 20.
25          Second, Plaintiffs falsely characterize the         signal as identifying all users who are
26 signed in to their Google account but have not consented to sync. Mot. 9. In fact, that signal has
27
28 confirmed their inclusion in the Order, Dkt. 127; see also Mar. 5, 2021 Hr’g Tr. 11–14, 21, 24, 34–
   36.
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 1 been recorded only since April 2018 and only when very specific conditions are satisfied. 8 The
 2 signal does not identify all users who are signed-in but not synced. Schumann Decl. ¶¶ 18, 19.
 3          Third, Plaintiffs incorrectly assert that the                         signal “easily identifies
 4 signed out and not synced users,” thereby capturing “the portion of the class that is not captured by
 5 the           [signal].” Mot. 9. The                     signal is not recorded in a variety of instances
 6 in which sync is disabled, including when a user signs out of his or her Google account (disabling
 7 sync by default), enters a “sync paused state” because their authentication cookie expires, or, instead
 8 of opting to “turn off sync,” disables sync by deselecting the checkbox for all or any portion of data
 9 for which a user can enable sync. Schumann Decl. ¶¶ 14, 19. This signal thus does not even identify
10 all users who were once synced and turned off sync, much less all signed-out users who browsed
11 without enabled sync, as Plaintiffs claim. See Schumann Decl. ¶¶ 14, 19; Pls.’ Ex. 8 (Google’s
12 Amended Response to Pls.’ Rog No. 34). Nor would                                   identify non-Google
13 Account holders (who by definition are not signed in and not synced) browsing on Chrome.
14 Schumann Decl. ¶ 19. In other words, even if Google had preserved “not-synced” signals from the
15 inception of this case, Plaintiffs could not rely on them to identify their class, and thus cannot
16 demonstrate prejudice pertaining to “not-synced” signals.
17          B.       Google Complied With All Court and Special Master Orders Regarding
                     Preservation and Production of Named Plaintiff Data
18
            Plaintiffs’ unsubstantiated claims that Google’s efforts to preserve and produce Named
19
     Plaintiffs’ data violated the April 30, 2021 and November 12, 2021 Orders , Mot. 10–14, are
20
     inconsistent with the record, as detailed below. These claims are also an untimely and improper
21
     attempt to relitigate matters the Court and Special Master already resolved.
22
            First, Plaintiffs claim that Google’s preservation obligations extended beyond the Named
23
     Plaintiffs’ authenticated data to data associated with pseudonymous unauthenticated identifiers. See
24
     Mot. 14–15. That is incorrect because these unauthenticated identifiers may relate to users other
25
     than Named Plaintiffs. Although Google had no obligation to preserve this data from the start of the
26
27
     8  The        signal is sent only when users (1) are signed into their Google Account, (2) signed
28
     into the Chrome browser, and do not turn sync on. Schumann Decl. ¶ 11.
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 1 case, out of an abundance of caution, Google did preserve data associated with unauthenticated
 2 identifiers extracted from Plaintiffs’ devices.
 3          Second, Plaintiffs’ claim that Google was obligated to produce everything it preserved, see
 4 Mot. 10–12, incorrectly equates preservation with production obligations. See, e.g., In re
 5 Akhmedova, 2020 WL 6891828, at *1 (N.D. Cal. Nov. 24, 2020) (obligations to preserve materials
 6 are distinct from production of documents responsive to a subpoena); Khan v. Rogers, 2018 WL
 7 4693414, at *2 (N.D. Cal. Sept. 28, 2018) (same); Ansorge Decl. Ex. 14 at 93:9–13. The Court only
 8 recently ordered production of Named Plaintiff litigation hold data, and Google promptly complied.
 9 Ansorge Decl. ¶¶ 84–85.
10                  1.      Google Preserved Data Associated with Named Plaintiffs’ Google
                            Accounts Pursuant to a Litigation Hold
11
            Google preserved data related to the Google Accounts (“GAIA”) purportedly belonging to
12
     the Named Plaintiffs and identified in the Complaint soon after Plaintiffs filed this lawsuit. Ansorge
13
     Decl. ¶ 3. Unsatisfied with this reasonable and proportional approach, Plaintiffs demanded that
14
     Google preserve                        of event-level data from all potentially relevant data sources
15
     until Plaintiffs decided what they needed. See Dkt. 109 at 1. When Google objected on the basis of
16
     burden, Plaintiffs accused Google of spoliation. Dkt. 109-4 ¶ 7.
17
            In response, Google built engineering pipelines to preserve event-level data associated with
18
     the Named Plaintiffs’ GAIA IDs in late February 2021 (the “Litigation Hold Data”). Ansorge
19
     Decl. ¶ 6. Plaintiffs now claim they “did not learn” about the Litigation Hold Data “until the last
20
     week of fact discovery,” Mot. 21, but Google disclosed the Litigation Hold Data in February 2021,
21
     see Dkt. 101-4 at 3. Google also promptly sought relief by filing an emergency motion for a
22
     Protective Order on February 17, 2021. Dkt. 108-4.
23
            At the March 5 Hearing, the Court acknowledged that “just because the data exists doesn’t
24
     mean it’s necessarily subject to discovery under Rule 26,” Mar. 5, 2021 Hr’g Tr. 50:22–23, and later
25
     ordered a deposition focused on Google’s logs and a production of “a sample from each of the four
26
     categories of logs discussed at the hearing for each named plaintiff,” Dkt. 155 at 1. Google complied,
27
     producing sample data on April 6, 2021 and a witness on April 9, 2021. Ansorge Decl. ¶¶ 9–10. On
28

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 1 April 30, 2021, the Court ruled that “Google need not suspend its standard retention periods
 2 applicable to data logs that reflect event-level data of Chrome users in the United States.” Dkt. 174
 3 (“Protective Order”).
 4                  2.      Google Complied with the April 30, 2021 Production Order
 5          After obtaining Plaintiffs’ consent, Google agreed to produce relevant, non -duplicative
 6 Named Plaintiff data associated with their GAIAs. Google objected, however, to the extent
 7 Plaintiffs’ request also sought unauthenticated user data—i.e. pseudonymous data that does not
 8 identify a particular user. Dkt. 164 at 3 (Dispute No. 1.3); Dkt. 166 at 3 (Dispute No. 1.3). Google’s
 9 objection was based on privacy concerns—without certainty about the user associated with the
10 unauthenticated data, Google could not obtain the necessary consent. Dkt. 151-4 at 7. As the Court
11 knows, Google “fully segregates authenticated from unauthenticated data[.]” Dkt. 206 at 4. 9 This
12 segregation is key to Google’s efforts to protect users’ privacy. 10 Ansorge Decl. Ex. 1 (Apr. 9, 2021
13 Rule 30(b)(6) Tr.) 313:8-313:12 (“[W]e have policies and systems to prevent” anonymous or
14 pseudonymous cookie IDs from being “correlate[d] . . . with a user identity, like a gaia ID.”). Unless
15 a user signs in, Google will not know which of the potentially many users of a device is browsing
16 the internet. Even Plaintiffs acknowledged the problem but nevertheless in sisted that the data must
17 be produced. Id. Ex. 2 (Apr. 29, 2021 Hr’g Tr.) 44:24–45:6 (Plaintiffs’ counsel recognizing that “a
18 device that’s linked to a named Plaintiff . . . may also be [associated with activity by] your spouse
19 if there’s two people sharing the same device”).
20
21
     9  Plaintiffs claim, without support, that Google actually links authenticated and unauthenticated
22
     information. Mot. 14. This is categorically wrong. Google documents and testimony demonstrate
23   that this linking does not occur. See, e.g., Dkt. 428-22 ¶¶ 8–10. Although Plaintiffs assert “Google
     produced data for one of Plaintiffs’ test accounts by conducting a search for a biscotti-identifier in
24
     a Gaia-keyed log,” Mot. 14–15 (citing Jt. Decl. ¶ 103), their only support is an argumentative chart
25   (improperly included in an attorney declaration, see supra n.1) with no substantiation. Plaintiffs are
     also wrong that GAIA and Zwieback identifiers are co-mingled in            . Mot. 15 (citing Jt. Decl.
26   ¶¶ 42-43); Dkt. 713-4 at 6–7.
     10    The separation of authenticated and unauthenticated data is also enshrined in the consent
27   framework developed at the start of the class period in 2016, which is based on the “key principle”
28   that Google will not use “data collected while signed in to target ads when the user is signed out, or
     vice versa.” Dkt. 225-9 (Tr. of GOOG-CALH-00045185) 17:22–25.
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 1           On April 30, 2021, the Court ordered Google to produce data associated with Named
 2 Plaintiffs, including, “device data associated with any Plaintiff” and “recogniz[ed] that additional
 3 disputes regarding the available data may arise.” Dkt. 173-1 at 1–2 (Disputes Nos. 1.3, 2.2). Google
 4 immediately complied, searching both the authenticated and unauthenticated identifiers the Named
 5 Plaintiffs provided, and producing the associated data. Ansorge Decl. ¶ 16. Moreover, while the
 6 Court did not require Google to preserve data associated with the Named Plaintiffs’ unauthenticated
 7 identifiers, Google engineers developed pipelines in                    to preserve data associated with
 8 Biscotti IDs extracted from the cookie values Plaintiffs provided (addin g to the Litigation Hold
 9 Data). Id. ¶ 32.11
10                   3.      The Court Referred Disputes Regarding the April 30, 2021 Order to the
                             Special Master
11
             Dissatisfied, Plaintiffs requested that Google infer a second order of unauthenticated
12
     identifiers, even further removed from Plaintiffs, that could have come from any device Plaintiffs
13
     ever used to log into their Google Accounts, including devices not belonging to Plaintiffs. Dkt. 206
14
     at 4 (“Google represents that it will produce plaintiff profiles, web browsing history and oth er
15
     information associated with their Google accounts and associated with the small universe of other
16
     identifiers that Plaintiffs happened to discover during the investigation of claims in this case. But
17
     Google refuses to disclose the other identifiers (likely the vast majority of Plaintiffs’ identifiers) and
18
     produce plaintiff information associated with those as well.”).
19
             Reverse-engineering second-level unauthenticated identifiers—as Plaintiffs urged—would
20
     present a substantial privacy risk. Such identifiers could be associated with any device Plaintiffs
21
     ever used to log into their Google Accounts—even a public computer in a library. The identifier
22
     would thereby capture browsing activity of a large number of other users, including non-members
23
     of the putative class. In short, Google could “disclose” the secondary unauthenticated identifiers to
24
     Plaintiffs only by undermining the robust privacy-preserving policies and system designs Google
25
26   11At the time, Google did not preserve Zwieback-keyed data because Zwieback ID is not used to
   key the data at issue: data generated when users visit a third-party website that uses Google Analytics
27 or Ad Manager. Rather, Zwieback ID is set in cookies by google.com domains, like Search. Ansorge
28 Decl. ¶ 32. On October 1, 2021, the Court denied Plaintiffs’ request for discovery into transmissions
   to Google.com. Dkt. 329 at 2; see also Dkt. 579-4 at 1 (Denying discovery into “Search logs.”).
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 1 maintains to segregate these two types of data.12
 2          Because this is a complex technical issue with significant privacy implications, the Court
 3 referred this dispute to the Special Master on July 13, 2021. Dkts. 246 –247; Ansorge Decl. ¶ 30.
 4 Recognizing the burden and privacy implications of Plaintiffs’ request, the Special Master did not
 5 order Google to reverse-engineer identifiers, and instead ordered Plaintiffs to provide additional
 6 device identifiers for Google to search. Ansorge Decl. ¶¶ 55, 80.
 7                  4.      Google Fully Complied with the Special Master’s Instructions and the
                            Court’s November 12, 2022 Order
 8
            Since July 2021, at the Court’s direction, the Special Master has carefully overseen the
 9
     complex process of producing Named Plaintiff and potential class member data. On September 16,
10
     2021, the Court set forth a funneled three-step process “to address issues of production of documents
11
     regarding Plaintiffs and potential class members”: (1) identify potentially relevant sources and their
12
     retention periods, (2) provide additional information for a subset of sources identified in the first
13
     step, and (3) search a subset of the sources in the second step. Dkt. 309. Pursuant to this process,
14
     Google identified        potentially relevant sources of ESI and their retention periods, and
15
     specifically disclosed that Litigation Hold Data was preserved from           of these data sources.
16
     Ansorge Decl. ¶¶ 43, 45 & Ex. 11.
17
            In its Order of November 12, 2021 (“November 12 Order”), the Court adopted the Special
18
     Master’s October 20, 2021 Report & Recommendation (“October 20 R&R”), and directed Google
19
     to provide “a full list of all data sources which have been searched during the overall discovery
20
     process, . . . includ[ing] . . . a list of all bates ranges in the production(s) associated with each
21
     searched data source identified specifically by data source” and a declaration that “[a]ll responsive
22
     data related to the Named Plaintiffs have been produced from all searched data sources in the
23
     respective prior searches.” Dkt. 377 at 10.
24
25
      Plaintiffs claim that Google’s quick production of “device-keyed information” proves Google’s
     12

26 assertions of the burden associated with having to reverse-engineer identifiers “categorically false.”
   Mot. 14. That is wrong. Google quickly produced information associated with Plaintiff -provided
27 unauthenticated identifiers. Ansorge Decl. ¶ 57, 81–82. It would be substantially more time
28 consuming and burdensome to fulfill Plaintiffs’ separate request to reverse-engineer unauthenticated
   identifiers beyond those Plaintiffs provided. See Dkt. 232-4 (Sealed MTC Opp.) at 1, 6–9.
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 1          Google fully complied with the November 12 Order, as the Special Maste r subsequently
 2 confirmed. Ansorge Decl. Ex. 9 (November 22, 2021 email). Plaintiffs now claim that Google
 3 violated this Order because it did not also produce the Litigation Hold Data. But, by the time of the
 4 Court’s Order, the Special Master had consistently denied Plaintiffs’ requests for Named Plaintiff
 5 data Google “has preserved but not yet produced.” Id. ¶¶ 46–47. Therefore, both Google and the
 6 Special Master understood the relevant provisions of the October 20 R&R and November 12 Order
 7 to refer to the data Google searched for purposes of production, not the Litigation Hold Data. Id.
 8 Ex. 12 (confirming that “Special Master Brush has determined that [Plaintiffs’ request for
 9 ‘Production of Data Google Has Preserved But Not Produced’ is] outside the scope of Exhibit 1,
10 Section 4 [of the November 12, 2021 Order.]”).
11          Both the Special Master and the Court have consistently drawn a distinction between the full
12 universe of preserved data and the data that should be produced in discovery.
13 Mar. 5, 2021 Hr’g Tr. 50:22–23 (“Just because the data exists doesn’t mean it’s necessarily subject
14 to discovery under Rule 26.”); Ansorge Decl. Ex. 25 (Mar. 15, 2022 SM Hr’g Tr.) 30:23–24 (“Just
15 because they’re preserved doesn’t mean they get produced.”). And there was good reason not to
16 order the production: because the broad set of Litigation Hold data was for preservation, not
17 production, it was stored in a non-optimized raw format to ensure prompt preservation. Ansorge
18 Decl. ¶ 6. When finally ordered to be produced, it took days of work by a Google engineer to
19 reconstitute it into a production-ready format. Dkt. 704-4 at 2.
20          Plaintiffs now also claim Google withheld the Litigation Hold Data “so that Google could
21 justify turning over null sets,” Mot. 13, but that could not be further from the truth. Precisely to
22 resolve this issue of getting only null sets of data in return, Google agreed to run searches on
23 identifiers provided by Plaintiffs’ expert, Dr. Shafiq, and produced all responsive data. Ansorge
24 Decl. ¶ 57. In the months that followed, Google produced              of additional data across
25 of data sources related to identifiers provided by Plaintiffs and Dr. Shafiq. Id.
26          After Plaintiffs continued to push for discovery beyond what the Special Master deemed
27 relevant and proportionate, the Special Master finally acquiesced and ordered production of
28 Litigation Hold Data that did not contain information confidential to third-party publishers, which

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 1 Google produced on March 9 and 10, 2022. Id. ¶ 71. Plaintiffs delayed the rest of Google’s
 2 production by failing to follow the Special Master’s instructions to provide searches for the rest of
 3 the data that contains confidential publisher information. Id. ¶ 83. Google produced all Litigation
 4 Hold Data on June 30, 2022. Id. ¶ 85.
 5                  5.     Plaintiffs Identify No Prejudice or Harm
 6          The extensive chronology of this dispute shows that Google consistently preserved and
 7 produced Named Plaintiff data pursuant to its obligations, Court orders, and specific Special Master
 8 guidance. Contrary to their eleventh-hour prejudice claim, Mot. 3, Plaintiffs cannot establish any
 9 hardship from not having the Litigation Hold Data earlier. Plaintiffs’ initial selection of data sources
10 in December 2021 was hardly made “at random,” Mot. 13, but rather guided by Plaintiffs’ eight
11 experts with the full benefit of: (i) all potentially relevant data sources and identification of which
12 ones were part of the Litigation Hold Data; (ii) descriptions of each source’s purpose and function
13 and their retention status, relevant field names and descriptions; (iii) documents to aid searching and
14 working with the requested sources; and (iv) thousands of pages of Plaintiff data, as well as a list of
15 corresponding bates numbers, dates on which the searches were carried out, full scripts and
16 identifiers used for the searches, and names of the tools used for the searches. Ansorge Decl. ¶¶ 43,
17 45 & Ex. 34; Dkt. 383-2. Accordingly, Plaintiffs’ prejudice claims ring hollow. Most tellingly,
18 Plaintiffs fail to offer any explanation of how the additional data that Google is alleged to have
19 improperly withheld would have been useful, despite having had since March 2022, before filing
20 their Motion, around 80 percent of the Litigation Hold Data. See id. ¶ 78 & Ex. 28.
21          C.      Google Timely Disclosed              and Plaintiffs Cannot Show Prejudice
                    from the Three Purportedly Late-Produced Documents
22
            Plaintiffs claim that Google’s consent defense—and its dispositive motion 13—should be
23
     stricken because Google purportedly withheld important discovery about a “secret”
24
25
26   13On November 30, 2021, Google filed a motion for summary judgment seeking a ruling that
   Plaintiffs consented to Google’s receipt of the at-issue data as a matter of law because each named
27 Plaintiff affirmatively selected “I Agree” to one or both of the Account Holder Agreements and the
28 Google Privacy Policy, which explicitly disclosed the data collection at issue. Dkt. 429. Google’s
   motion is therefore not based on “default account settings,” as Plaintiffs’ claim. Mot. 3.
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 1 “study” or “survey.” Notice at iii;14 Mot. 3, 15, 21, 22. By contrast, the record establishes that (1)
 2                  is not a “study” of the at-issue disclosures; (2) Google long ago disclosed
 3                  and Plaintiffs had ample opportunity to explore it in discovery; and (3) Plaintiffs can
 4 point to no prejudice from the three late-produced documents.
 5                  1.       Plaintiffs Misrepresent the Purpose and Nature of
 6          Plaintiffs fundamentally misrepresent the nature of                  .                 was in no
 7 way a targeted “study” of the “very disclosures at issue in the motion for summary judgment.”
 8 Mot. 15. Rather, it was a five-year, forward-looking Google project aimed at shoring up and
 9 expanding upon Google’s position as a leader in privacy and safety. Olson Decl. Exs. 19 –20.
10                  was a cross-product effort to “define an overarching vision and strategy . . . to inform
11 the Google privacy experience across products and services.” Id. Ex. 15.15
12                  2.       Plaintiffs’ Contention that Google Failed To Timely Disclose
                                             Existence is Flatly Incorrect
13
            Google produced over           documents explicitly referencing                before it filed its
14
     MSJ, Olson Decl. ¶ 16, and an additional        documents referencing                 before Plaintiffs
15
     filed their Opposition to Google’s MSJ, id. ¶ 23. Allegations of sandbagging cannot be credited
16
     when Plaintiffs’ own MSJ Opposition includes (i) an entire page explicitly discussing
17
                         (ii) citation to multiple             documents from Google’s productions, and
18
     (iii) five pages discussing numerous other documents in a section titled “Google Internally Admits
19
     Its ‘Consent’ Process Is Broken.” 16 Dkt. 462 (Sealed MSJ Opp.) at 12–17; Dkt. 462-1 (Barnes Decl.)
20
     Exs. 24, 47–50, 62, 69.
21
22
   14 Plaintiffs’ Notice of Motion improperly contains argument beyond the 25 -page limit set by the
23 local rules and should be stricken. Civ. L.R. 7-2.
   15  See also Olson Decl. Ex. 10 at -258 (                    objective was to “[d]evelop a privacy
24
   experience vision aimed at a five-year time horizon”); id. Ex. 16 (Heft-Luthy Tr.) 53:6–8
25 (                was “a product design and strategy effort”); id. Ex. 38 (Abdulhay Tr.) 10:5–11
   (                was “a vision and strategy project focused on the privacy user experience.”).
26 16 The sanctions motion recycles the argument from the MSJ Opposition that internal Google
   documents show Google’s consent process or consent flow is “broken,” Notice at iii; Mot. 3, even
27 though none of the at-issue documents here uses that term. Thus, not only have Plaintiffs already
28 made this argument in the opposition for which they are claiming prejudice, but none of the at-issue
   documents provides any further support for that argument.
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 1          Equally baseless is Plaintiffs’ contention that they did not learn of the
 2 “stakeholder interviews” or “survey” until Google witness Sam Heft-Luthy “inadvertently” and
 3 “unwittingly” acknowledged them at his December 20, 2021 deposition. Mot. 3 –4, 15, 21. Well
 4 before Plaintiffs deposed Mr. Heft-Luthy, Google had produced                 of documents specifically
 5 referencing the fact of the interviews, Olson Decl. ¶ 16; see also id. ¶¶ 7–14, including detailed
 6 notes from one of the interviews, id. Ex. 9, summaries of the first nine interviews, id. Ex. 8, and a
 7 list of 19 of the 25 interviewees whose interviews were documented in Plaintiffs’ Exhibit 11, id. Ex.
 8 14. Indeed, Plaintiffs’ counsel came to Mr. Heft-Luthy’s deposition armed with over half a dozen
 9 Google-produced documents discussing                         , and asked detailed questions about the
10                  project. Id. Ex. 16 (Heft-Luthy Tr.) 6:6–7:20; 10:22–25; 52:10–134:13; 213:12–
11 217:5. Plaintiffs’ counsel specifically raised the                  stakeholder interviews referenced in
12 an exhibit. Id. 88:21–93:11; see also Olson Decl. ¶ 10. Plaintiffs did not request the interview notes
13 at that time. Olson Decl. ¶ 18. Following Mr. Heft-Luthy’s deposition (and still a few days before
14 Plaintiffs filed their Opposition), Plaintiffs deposed Greg Fair, who served as Google’s declarant
15 concerning the factual bases of Google’s MSJ, and was the custodian for nearly a quarter of the
16 already produced                     documents. Id. ¶¶ 22, 24. Plaintiffs found the time to ask him about
17 the UN Declaration of Human Rights, but chose to ask zero questions about                          or the
18 related interviews. Id. Four weeks after Mr. Heft-Luthy’s deposition and a week after Plaintiffs filed
19 their MSJ Opposition, Plaintiffs finally asked Google to produce “all transcripts, notes, and emails
20 regarding interviews taken for                    and all documents, research and ‘inputs’ that pertain
21 to                 .” Id. Ex. 37.
22          Plaintiffs also falsely declare they had to file their opposition “without the benefit of the
23 requested                   documents” because “Google had refused to produce” them. Jt. Decl. ¶ 52.
24 Plaintiffs waited months after being aware of it to request                   -specific search terms, and
25 Google agreed the very next day. Olson Decl. ¶¶ 19–20. Plaintiffs did not request an extension to
26 file their Opposition (due January 10, 2022) to review and incorporate documents that might be
27 produced as a result of the newly added terms. Id. ¶ 21. Nor did they seek to supplement their
28 briefing with any of the more than 500 additional responsive documents Google produced before

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 1 the fact discovery cut-off. Olson Decl. ¶¶ 25, 46; but see Dkt. 494 (filing surrebuttal to address new
 2 legal authority).
 3                 3.      Plaintiffs’ Assertions of Prejudice Are Baseless
 4          Despite sweeping claims of prejudice, Plaintiffs’ motion references just three of the two-
 5 dozen documents produced in early April 2022: (i) GOOG-CABR-05885987 (Jt. Decl. ¶ 62); (ii)
 6 GOOG-CABR-05885871 (Jt. Decl. Ex. 11); and (iii) GOOG-CABR-05885181 (Jt. Decl. Ex. 12).
 7 The information Plaintiffs claim is relevant in each was actually produced earlier:
 8          GOOG-CABR-05885987. This document is a                           position paper compiled to
 9 assist Google’s Privacy & Data Protection Office (“PDPO”) with “resource allocation and milestone
10 setting.” Id. Ex. 38 (Abdulhay Tr.) 37:17–19. Plaintiffs’ MSJ Opposition cites a prior version,
11 identical in virtually all material respects—including each of the six excerpts Plaintiffs identified
12 in this Motion. Olson Decl. ¶ 55 (chart showing overwhelming similarities). In fact, one of the
13 quotations Plaintiffs trumpet was          featured verbatim in the MSJ           Opposition brief.
14 Compare Jt. Decl. ¶ 62.e., with MSJ Opp. at 16.
15          GOOG-CABR-05885871. This document contains notes from interviews of 25 privacy
16 “stakeholders” within Google, conducted by members of the                      project team. None of
17 Plaintiffs’ claims related to this document stands up to scrutiny.
18          First, Plaintiffs contend that the April 2022 production of this document “foreclosed the
19 opportunity to cross-examine witnesses – Google ‘stakeholders’ . . . that undermine Google’s
20 consent defense.” Mot. 21. But earlier-produced documents identified nearly all of the same
21 interviewed “stakeholders” and their roles at Google. In early October 2021, when Plaintiffs had
22 selected only two out of 20 fact witnesses to be deposed, Olson Decl. ¶ 61, Google produced a
23 summary of “information from                         interviewees through July in our first round”
24 (approximately one-third of the total interviews conducted), id. Ex 8 at -734. The summary noted
25 that “more conversations are informing future work.” Id. It explicitly listed the names of the Google
26 employees who had been interviewed in the “first round,” id, and included quotations from the very
27 interviews Plaintiffs now claim were “secret,” id. at -736. In late October 2021, Google also
28 produced the entire interview notes with Rahul Roy-Chowdhury, which contain the same quotations

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 1 Plaintiffs now cite in their brief. Compare id. Ex. 9 at -494, with Mot. 3, 16, 22. And on November
 2 16, 2021, Google produced a spreadsheet identifying 19 of the 25 interviewees whose interviews
 3 were documented in Plaintiffs’ Exhibit 11. Olson Decl. Ex. 14.
 4          Throughout discovery, Google produced additional documents referencing the interviews
 5 and identifying the interviewees. See, e.g., Olson Decl. Exs. 21–36. By November 16, 2021,
 6 Plaintiffs had the names of 21 of the 25 of the interviewees, yet Plaintiffs did not elect to depose
 7 any listed interviewees even though they did not select their final three fact witness depositions until
 8 February 24, 2022. Id. ¶¶ 62–63. Further, Plaintiffs had the opportunity to depose Google’s Rule
 9 30(b)(6) witness, Mediha Abdulhay, on                      , including the stakeholder interview notes
10 and three other                  documents produced in April 2022. Id. Ex. 38 (Abdulhay Tr.) 4:10–
11 5:14; 13:1–14; 27:9–15; 42:11–43:12; 46:1–50:8.
12          Second, Plaintiffs incorrectly suggest that               was a survey conducted to “record”
13 the views of Google “stakeholders” regarding “Google’s consumer disclosures – including the very
14 disclosures at issue in the motion for summary judgment.” Mot. 15. Not one of the wide range of
15 general privacy topics covered was aimed at measuring the adequacy of Google’s disclosures or
16 user consent. This did not stop Plaintiffs f rom claiming the interview notes show “how widely
17 Google senior management understood that consent was illusory,” Mot. 3, 17 or express
18 “disagree[ment] with the notion…that users ‘consented’ to Google’s collection of their personal
19 information,” Mot. 21–22, when no such statements exist. Or claiming that the notes include
20 “overwhelming consensus that Google’s disclosures were confusing” or that they “failed to
21 adequately advise users of the full nature and scope of Google’s collectio n practices,” Mot. 16, when
22 the only reference to consumers’ being “confused” was not about Google’s disclosures, but about
23 the difference between “no tracking” and “no ads.” Pls.’ Ex. 11 at -935. Plaintiffs’ other
24 misrepresentations are too numerous to include here. See Olson Decl. ¶ 64.
25          GOOG-CABR-05885181. This document is a compilation of consent-related user
26 experience research that was prepared as a reference point for a variety of internal Google projects.
27
28
     17  Very few of the interviewees would qualify as an executive, much less a “high level executive”
     or “senior management.” Olson Decl. Ex. 10 at -282; id. Ex. 38 (Abdulhay Tr.) Ex. 3.
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 1 Pls.’ Ex. 12 at -182. Plaintiffs now claim Google committed “an extraordinary act of bad faith” by
 2 withholding this document. Mot. 16. Nonsense. Google produced four nearly identical versions of
 3 Exhibit 12 on September 24, 2021 and November 16, 2021. Olson Decl. ¶ 72 (chart showing
 4 identical language from Joint Declaration ¶ 63 and Exhibit 12 in the Consent UXR Presentation
 5 Google produced in September 2021) & Exs. 40–43. Although Plaintiffs possessed these
 6 documents, they chose not to ask either Mr. Heft-Luthy or Mr. Fair about them, nor did they include
 7 them among the 74 MSJ Opposition exhibits filed months later.
 8          In sum, while two of the documents Plaintiffs cite were inadvertently withheld as privileged,
 9 and the third was inadvertently marked not responsive, id. ¶¶ 52, 58-59, 66–67,18 two were identical
10 or substantively identical to earlier-produced documents and the third was explicitly referenced in
11 earlier-produced documents, as described above. And the hundreds of                        documents
12 Google produced, including before Plaintiffs filed their MSJ Opposition, confirm Google’s good
13 faith and the lack of prejudice to Plaintiffs.
14 III.     ARGUMENT
15          The facts above demonstrate there is no basis for sanctions, let alone the extreme relief
16 Plaintiffs seek in their Proposed Order (mentioned nowhere in their brie f). These evidentiary
17 sanctions require a showing of bad faith, prejudice, or both. 19 As shown below, the Motion should
18 be denied because it does not come close to meeting this stringent burden.
19
20
21
     18 GOOG-CABR-05885987 and GOOG-CABR-05885871 were initially withheld as privileged and
22
   included on Google’s privilege log. Olson Decl. ¶ 52 (Entry 533 from Calhoun Priv Log 001); id. ¶
23 58 (CABR 6303 from 11/16/2021 Priv log). After Plaintiffs requested additional
   documents on January 18, 2022, and in preparation for Google’s Rule 30(b)(6) deposition on
24
                  , Google re-reviewed these documents and produced them. Id. ¶¶ 52, 59.
25 GOOG-CABR-05885181 was inadvertently tagged not-responsive, although duplicates had already
   been produced in September and November 2021. Id. ¶ 66. Google nevertheless produced it after
26 re-review. Id. ¶ 6.
   19 As Plaintiffs acknowledge, any sanction imposed under the Court’s inherent authority must be
27 preceded by an express finding of bad faith. Mot. 5; see also United States v. Brown, 62 F. App’x
28 165, 166 (9th Cir. 2003) (“[The Ninth Circuit] ha[s] consistently held that bad faith is required
   whenever courts invoke inherent powers to sanction, regardless of the form of the sanction . . . .”).
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 1          A.      Plaintiffs’ Request to Preclude Arguments Concerning “Not-Synced” Signals Is
                    Misguided
 2
            Plaintiffs ask the Court to prevent Google from relying on the “absence of signals from
 3
     which browser state can be determined” to argue that (1) the proposed Class cannot be ascertained;
 4
     (2) damages cannot be apportioned on a classwide basis, and (3) the proposed Class definition—
 5
     defined to include only users who are not synced —contains any “uninjured” class members.
 6
     Proposed Order ¶ 3. “[O]n the menu of sanctions that a court may select from in applying Rule 37,
 7
     preclusion of evidence is among the most severe.” True Health Chiropractic Inc. v. McKesson
 8
     Corp., 2015 WL 5341592, at *6 (N.D. Cal. Sept. 12, 2015) (quoting Network Appliance, Inc. v.
 9
     Bluearc Corp., 2005 WL 1513099, at *3 (N.D. Cal. June 27, 2005)). Issue preclusion sanctions are
10
     likewise reserved for discovery abuse “so extreme and prejudicial that no lesser remedy will cure
11
     the harm.” Synapsis, LLC v. Evergreen Data Sys., Inc., 2006 WL 2884413, at *1 (N.D. Cal. Oct. 10,
12
     2006). For this reason, such sanctions are “rarely impose[d].” Natural-Immunogenics Corp. v.
13
     Newport Trial Grp., 2016 WL 11520757, at *6 (C.D. Cal. June 16, 2016).
14
            Google has acted in good faith. Google undertook its preservation efforts—including its
15
     decision not to suspend standard retention periods for Chrome users’ event-level data—
16
     transparently and in full compliance with the Court’s Protective Order. See supra Section II.A.
17
     Google accurately represented to the Court and the parties the very real limitations of the sync traffic
18
     logs, including that they do not record data for all users who are not synced and cannot identify the
19
     total number of users who have not enabled or disabled sync. Since the March 5 , 2021 Hearing,
20
     Google consistently provided discovery regarding “not-synced” signals, disclosing such signals in
21
     its production and written responses well before Plaintiffs filed their motion for class certification.
22
     Contrary to what Plaintiffs claim, Google’s class certification opposition does not rely on the
23
     “absence” of sync signals for any arguments, see generally Dkt. 429; see also Dkt. 427 at 14–16.20
24
25
     20Google opposed class certification based on Plaintiffs’ failure to propose a class wide damages
26 methodology that accounted for uninjured class members, including (1) users who consented to
   collection of data; (2) users who value personalized advertising mo re than their data; (3) users whose
27 personal information was not received by Google, and (4) users who could have enabled a multitude
28 of different options and settings to limit the amount and type of data Google received. Dkt. 429 at
   20–23. None of these could be identified and excluded using “not-synced” signals.
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 1 Because Google has acted in good faith, preclusion sanctions are not available under the Court’s
 2 inherent authority. Gomez v. Vernon, 255 F.3d 1118, 1134 (9th Cir. 2001).
 3          Plaintiffs have suffered no prejudice. Plaintiffs’ assertion that Google had within its
 4 possession, but failed to preserve, the data necessary to generate a list of putative class members,
 5 Mot. 19, is baseless. See supra Sections II.A.1 & 3. Among other challenges, users without a Google
 6 Account are not “readily identifiable” by any means (for reasons unrelated to “not-synced” signals),
 7 and the signals at issue have no way to determine whether users visited non -Google websites that
 8 use Google services (a requirement to be in the class). Id. Plaintiffs’ further assertion that this
 9 information would “quantify actual unjust enrichment damages on a per user basis,” Mot. 19, is
10 wrong because such damages would depend on a multitude of individual factors that cannot be
11 determined by “not-synced” signals, including whether the class member was harmed in the first
12 place and the settings or options they may have enabled to mitigate such alleged harm. See Dkt. 427
13 at 14–16; Dkt. 426-10 at 22–34.
14          Moreover, Google has transparently provided ample discovery on b oth signals Plaintiffs
15 claim are important (                       and        ). The Special Master is finalizing a preservation
16 plan as a culmination of Google’s efforts, and Google has already agreed to preserve these signals.
17 Any alleged delay in preservation is Plaintiffs’ own doing by, for example, rejecting Google’s
18 August 27, 2021 preservation proposal, waiting until January 2022 to depose Mr. Schumann, and,
19 after noticing a Rule 30(b)(6) deposition on signals, deciding not to take it. See supra Section II.A.2.
20 Google’s good faith and lack of prejudice to Plaintiffs preclude sanctions.
21          B.      Plaintiffs’ Requested Adverse Jury Instruction is Improper and Prejudicial
22          Based on their claim that Google insufficiently preserved and produced data associated with
23 the Named Plaintiffs, Plaintiffs request a jury instruction that Google destroyed evidence “favorable
24 to Plaintiffs,” and that the non-preserved evidence would have shown (1) “that Chrome was in fact
25 unlawfully disclosing personal information of Named Plaintiffs and Class Members to Google” and
26 (2) “that the nature and volume of information being unlawfully disclosed was objectively
27 unreasonable and highly offensive.” Proposed Order ¶ 4. Since there has been neither spoliation nor
28

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 1 prejudice, no adverse instruction is warranted, much less one this inflammatory and prejudicial.21
 2           Where one party alleges that another has spoliated electronically stored information,
 3 sanctions are available exclusively pursuant to Rule 37(e). Newberry v. Cty. of San Bernardino, 750
 4 F. App’x 534, 537 (9th Cir. 2018); Best Label Co. v. Custom Label & Decal, LLC, 2022 WL
 5 1525301, at *2 n.1 (N.D. Cal. May 13, 2022). Under Rule 37(e), “[i]f a court finds that the loss of
 6 [electronically stored] information has prejudiced the moving party, it may order ‘measures no
 7 greater than necessary to cure the prejudice.’” Best Label, 2022 WL 1525301, at *2 (quoting Fed.
 8 R. Civ. P. 37(e)(1)). These measures may include an adverse jury instruction only if the court further
 9 finds that the nonmoving party “acted with the intent to deprive another party of the information’s
10 use in the litigation.” Id. (citing Fed. R. Civ. P. 37(e)(2)). “[E]ven gross negligence . . . in failing to
11 retain relevant evidence is not sufficient to support an adverse inference under Rule 37(e)(2).” Meta
12 Platforms, Inc. v. BrandTotal Ltd., 2022 WL 1990225, at *6 (N.D. Cal. June 6, 2022) (denying
13 adverse instruction where “it is possible that BrandTotal intentionally failed to preserve [user data]
14 logs,” and its conduct gave “at least some support to that theory,” but “Meta has not shown that to
15 be the most likely explanation for the ongoing automatic deletion of those logs”). No instruction is
16 warranted.
17           Google preserved and produced Plaintiffs’ data in good faith. Google had no “intent to
18 deprive” Plaintiffs of discoverable information. Meta Platforms, 2022 WL 1990225, at *6 (denying
19 adverse instructions under Rule 37(e) where requisite intent is absent). To the contrary, Google’s
20 efforts to preserve class member data complied with the Court’s determination that “Google need
21 not suspend its standard retention periods” for event-level Chrome user data. See supra Section
22 II.B.1. At the start of the case, Google also preserved the Named Plaintiffs’ authenticated data; it
23 later preserved relevant unauthenticated data associated with Plaintiffs’ devices. See supra Section
24
25
     21  Plaintiffs’ requested instruction that non-preserved evidence would have established that
26 Google’s data collection is “highly offensive” is unfounded. At least four of the Named Plaintiffs
   admitted they continue to use Chrome despite full awareness of Google’s data collection. Dkt. 429
27 at 17 & n.22. And Plaintiffs’ counsels’ own websites use Google services that share visitor data with
28 Google. Id. at 5. For these and other reasons, Plaintiffs’ claim that Google’s conduct is “highly
   offensive” is simply not credible.
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 1 II.B.2. As the detailed chronology above reveals, Google’s productions carefully followed the
 2 directives of the Court and Special Master. See supra Section II.B. Plaintiffs can point to nothing to
 3 rebut that inevitable conclusion.
 4          Plaintiffs have suffered no prejudice. An adverse instruction is further unwarranted because
 5 Rule 37(e) authorizes only “measures no greater than necessary to cure the prejudice,” and there has
 6 been no prejudice here. First, Google has produced                of the exact same type of Biscotti-
 7 and Zwieback-keyed data that Plaintiffs allege Google spoliated. See supra Section II.B.4. Plaintiffs
 8 claim the non-preserved data could have been relevant to their invasion of privacy and intrusion-
 9 upon-seclusion claims because it bears on the “nature and volume” of data Google collected, Mot.
10 20–21, but they offer no reason that the voluminous Biscotti- and Zwieback-keyed data Google
11 produced would not serve the same purpose. See Kannan v. Apple, Inc., 2020 WL 9048723, at *8
12 (N.D. Cal. Sept. 21, 2020) (prejudice from incomplete discovery is “limited” where movant had
13 “access to other sources of information about” the same topic). And since Plaintiffs have identified
14 no evidence in the produced data to support their requested instruction, they are not entitled to a
15 declaration from the Court that the (materially same) non-preserved data would have proven their
16 case. See, e.g., Meta Platforms, 2022 WL 1990225, at *7 (denying adverse inference instructions
17 where moving party “identifie[d] no evidence besides the absence of the [allegedly spoliated data]
18 to support th[e] allegations”).
19          Second, as explained in Section II.B.4, Google has produced all of the Litigation Hold Data.
20 That Plaintiffs did not receive this data earlier cannot itself be sanctionable prejudice because
21 (i) Plaintiffs already had access to the same kind of data that did not require publisher notice, (ii)
22 Plaintiffs’ experts will have months to examine the recently-produced data before merits reports are
23 due on September 8, 2022, Dkt. 725 at 1, and (iii) Google withheld data requiring publisher notice
24 with the Special Master’s express authorization. See supra Section II.B.4; see also United States ex
25 rel. Wiltec Guam, Inc. v. Kahaluu Const. Co., 857 F.2d 600, 604 (9th Cir. 1988) (delayed production
26 “did not prejudice the outcome of [the] action” even if it “caused serious inconvenience”). Plaintiffs
27 were not hampered in “engag[ing] in follow-up discovery.” Mot. 20.
28

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 1          Third, even if Plaintiffs had been prejudiced by lack of access to non -preserved data, their
 2 requested instruction is clearly “greater than necessary to cure” it. Fed. R. Civ. P. 37(e)(1).
 3 Determining whether a defendant’s conduct is “highly offensive” requires “a holistic consideration
 4 of factors such as the likelihood of serious harm to the victim, the degree and setting of the intrusion,
 5 the intruder’s motives and objectives, and whether countervailing interests or social norms render
 6 the intrusion inoffensive.” In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 606 (9th Cir.
 7 2020). This analysis encompasses far more than just what data Google collects, and therefore
 8 Plaintiffs’ (incorrect) claim that Google spoliated that data does not justify removing the entirety of
 9 the offensiveness inquiry from the jury.22
10          C.      Plaintiffs’ Request to Preclude Google’s Consent Defense Is Improper
11          Plaintiffs ask the Court to strike Google’s affirmative defense of consent based on three
12 documents Google produced after Plaintiffs filed their MSJ Opposition. As noted above, preclusive
13 sanctions are available only for “discovery abuse that is so extreme and prejudicial that no lesser
14 remedy will cure the harm.” Natural-Immunogenics Corp., 2016 WL 11520757, at *6; True Health
15 Chiropractic, 2015 WL 5341592, at *6–7 (denying sanctions for “delay[ing] the production of
16 discoverable information” because “Plaintiffs have not sufficiently explained how this delay
17 affected their ability to obtain additional discovery or make arguments in its motions”); Nuance
18 Comms., 2012 WL 5904709, at *3 (rejecting preclusion sanctions when further discovery could
19 have cured the alleged prejudice from an “untimely production” and “permitted the Court and a jury
20 to resolve [the claims at issue] on the merits”). Where, as here, a discovery sanction would dismiss
21 a claim or defense, “mere negligent conduct is insufficient to impose the severe penalty of
22 exclusionary sanctions, and a showing of bad faith is required.” 23 Network Appliance, Inc., 2005
23 WL 1513099, at *3. Plaintiffs have shown neither bad faith nor prejudice.
24
     22 As Google noted in its class certification opposition, putative class members are differently
25
   situated for purposes of the “highly offensive” element, not only because Google co llected different
26 data from different users, but because millions of users were aware of—and apparently indifferent
   to—the data Google collected related to their browsing activity. See Dkt. 429 at 16–17.
27 23 Plaintiffs acknowledge that to the extent this Court determines that preclusion of Google’s
28 affirmative defense is appropriate—and it is not—it must “confine [its] order to ‘a
   recommendation.’” Mot. 5 (quoting Fed. R. Civ. P. 72(a)).
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 1          Google provided substantial discovery on                    Months Before it Filed The MSJ.
 2 The hundreds of                     documents Google produced during fact discovery include the
 3 precise information Plaintiffs claim was crucial to their opposition to Google’s MSJ. See supra
 4 Section II.C.3. Plaintiffs do not (and cannot) identify a single material fact they did not know before
 5 opposing summary judgment, or a single step Google took to “conceal” those facts. Indeed,
 6 Plaintiffs’ complaint can be boiled down to the delayed production of one document containing
 7 notes from internal interviews that Google inadvertently withheld entirely as privileged (and
 8 included on its privilege log) rather than producing it in redacted form. Contrary to Plaintiffs’ claims
 9 that “Google hoped to get a quick ruling on summary judgment before ever having to reveal the
10 truth,” Mot. 3, Google’s productions between October 5, 2021 and November 16, 2021 gave
11 Plaintiffs notice of these interviews—including detailed notes from one interview, interview
12 summaries of others, and the identities of 21 of the 25 interviewees—before Google even filed the
13 MSJ. Olson Decl. ¶¶ 7–14, 16, 62. Had Plaintiffs believed those productions were insufficient, “the
14 appropriate relief for this misconduct was not to ask for issue preclusion sanctions, but to seek a
15 discovery extension” or a motion to compel. Nuance Comms., 2012 WL 5904709, at *3; Techsavies,
16 LLC v. WDFA Mktg. Inc., 2011 WL 723983, at *3 (N.D. Cal. Feb. 23, 2011) (“Discovery disputes
17 should be resolved soon after the problem appears, rather than by exclusionary and sanctions
18 motions filed after discovery has terminated.”).
19          Plaintiffs were not prejudiced by delayed production of three documents. Plaintiffs’
20 contention that the three documents at issue “undermine [Google’s] motion for summary judgment,”
21 Mot. 15, is wrong.                   is not a study about the adequacy or meaning of the disclosures at
22 issue in this case. See supra II.C.1. Plaintiffs clearly understood this, or they would not have delayed
23 pursuing additional discovery on                    until after filing their MSJ Opposition. See supra
24 Section II.C.2. And contrary to their claim that they were “preclud[ed] from taking depositions,”
25 Mot. 4, Plaintiffs had every opportunity—yet declined—to depose any of the
26 interviewees identified in documents produced between October 2021 and January 2022. Id. That
27 Plaintiffs failed to pursue this issue before seeking sanctions reveals that “its claim of prejudice is
28 exaggerated” and the motion should be denied. See Nuance Comms., 2012 WL 5904709, at *3.

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 1          D.     Plaintiffs’ Other Requested Relief Is Likewise Inappropriate
 2          Plaintiffs’ request that the Court find Google “in civil contempt for abuse of the discovery
 3 process,” Dkt. 669-2 (Sealed Proposed Order) ¶ 2—a remedy mentioned nowhere in their brief—is
 4 unsupported and must be denied. It is “well settled” that a party may be fo und in civil contempt only
 5 if (i) the moving party provides “clear and convincing evidence” that the non -moving party “violated
 6 a specific and definite order of the court,” FTC v. Affordable Media, LLC, 179 F.3d 1228, 1239 (9th
 7 Cir. 1999), (ii) the alleged violation does not “appear[] to be based on a good faith and reasonable
 8 interpretation of the [court’s order],” and (iii) there has been no “substantial compliance,” In re
 9 Dual-Deck Video Cassette Recorder Antitrust Litig, 10 F.3d 693, 695 (9th Cir. 1993) (internal
10 quotation marks omitted); see also Calvillo Manriquez v. Devos, 411 F. Supp. 3d 535, 539 (N.D.
11 Cal. 2019) (contempt inappropriate even “where there are a few minor violations despite the fact
12 that ‘every reasonable effort has been made to comply.’”). As demonstrated above, none of these
13 elements is satisfied. Generalized allegations about “abuse of the discovery process” are not a basis
14 for contempt, and, in any case, no such abuse has occurred.
15          Plaintiffs’ requests for monetary sanctions fail for the same reasons as their other requests.
16 Even if some monetary sanction were warranted (it is not), it would be limited to reimbursement for
17 the reasonable expenses incurred in preparing the Motion. See, e.g., Brown v. Google LLC, Dkt.
18 593-3 (Redacted Order) at Ex. A, Conclusions of Law (“Brown Order”) ¶¶ 47–52 (granting only
19 those fees “incurred by Plaintiffs in filing the Sanctions Motion” and rejecting request for Special
20 Master fees). Plaintiffs’ request for all fees and costs incurred in opposing Google’s motion for
21 summary judgment, Proposed Order ¶ 5, is likewise invalid. Even if the three documents at issue
22 had been produced earlier, Plaintiffs cannot reasonably contend that Google never would have filed
23 the motion, or that Plaintiffs would not have opposed it. See, e.g., Fed. R. Civ. P. 37(b)(2)(C)
24 (limiting sanctions to expenses “caused by the failure”); Goodyear Tire & Rubber Co. v. Haeger,
25 137 S. Ct. 1178, 1184 (2017) (applying same rule to inherent-authority sanctions).
26 IV.      CONCLUSION
27          For the foregoing reasons, the Court should deny Plaintiffs’ request for sanctions.
28

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